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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                      §
 AMERICA,                                           §
                                                    §
                Plaintiff,                          §
                                                    §     CIVIL CASE NO. 18-CV-00566-TJM-
 v.                                                 §     CFH
                                                    §
 ANDREW CUOMO, both individually and                §
 in his official capacity; MARIA T. VULLO,          §
 both individually and in her official              §
 capacity; and THE NEW YORK STATE                   §
 DEPARTMENT OF FINANCIAL                            §
 SERVICES,                                          §
                                                    §
                Defendants.                         §

           DECLARATION OF STEPHANIE L. GASE IN SUPPORT OF
        MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS

       I, Stephanie L. Gase, declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.      I am a partner with the law firm of Brewer, Attorneys & Counselors, counsel to the

National Rifle Association of America (the “NRA”) in the above-captioned action (the “Action”).

I submit this Declaration in support of the NRA’s Memorandum of Law in Opposition to Motion

to Dismiss. The facts stated herein are true and correct and, unless otherwise stated, are within my

personal knowledge.

       2.      As counsel for the NRA, I have reviewed pleadings, and other documents related

to the Action, and I am familiar with the facts and circumstances of this case.

       3.      Attached hereto as Exhibit A is a copy of a Facebook post from Governor Andrew

Cuomo’s account, dated August 4, 2018, at 9:50 A.M., which can be found at

https://www.facebook.com/andrewcuomo/posts/10155989594858401.




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        4.         Attached hereto as Exhibit B is a copy of a Facebook post from Governor Cuomo’s

account,     dated      August    3,   2018,    at   12:16    P.M.,    which     can    be      found   at

https://www.facebook.com/andrewcuomo/posts/10155987290088401.

        5.         Attached hereto as Exhibit C is a copy of a screenshot of a Youtube video, which

can be found at https://www.youtube.com/watch?v=59NDp7ATfhg.

        6.         Attached hereto as Exhibit D is a copy of the transcript from an appearance by

Governor Cuomo on CNN’s New Day with Allisyn Camerota and John Berman, which can be

found at https://www.governor.ny.gov/news/transcript-governor-cuomo-addresses-nra-lawsuit-

and-condemns-organizations-illegal-business-0.

        7.         Attached hereto as Exhibit E is a copy of a press release from Governor Cuomo’s

office, which can be found at https://www.governor.ny.gov/news/governor-cuomo-exposes-nras-

hypocrisy.

        8.         I declare under penalty of perjury that the foregoing is true and correct.



Executed this 24th day of August 2018.



                                                         /s/ Stephanie L. Gase
                                                         STEPHANIE L. GASE




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AUGUST 6, 2018 Albany, NY


Transcript: Governor Cuomo Addresses NRA
Lawsuit and Condemns the Organization's Illegal
Business Practices While Guest on CNN

Governor Cuomo: "The NRA has always been against any
progress whatsoever. They're oblivious to the facts. They've
caused carnage in this nation. They've done gun owners a
disservice because there is a common sense compromise if the
NRA wasn't always threatening politicians who went anywhere
near reasonableness."

This morning, Governor Andrew M. Cuomo addressed the NRA's lawsuit against New York
State and condemned the organization's Carry Guard insurance during an appearance on
CNN's New Day with Alisyn Camerota and John Berman. The Governor today sent a
letter calling on other governors to follow New York's lead and block the sale of the NRA's
"Carry Guard" program, which provides liability insurance to gun owners for certain acts of
intentional wrongdoing. The Governor issued the letter as part of a national eﬀort to block the
program after a State investigation found that the program was illegal under New York State
law, leading to penalties against insurance companies involved. On Friday, New York State
ﬁled a motion to dismiss an NRA lawsuit against New York that suggested the State's actions
were a threat to "the NRA's corporate existence and its advocacy mission."




A transcript of the Governor's remarks is available below.



https://www.governor.ny.gov/news/transcript-governor-cuomo-addresses-nra-lawsuit-and-condemns-organizations-illegal-business-0             1/4
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John Berman: Turning now to an escalating legal battle between the NRA and the state of
New York. the NRA has accused the state of a political black listing campaign which it says
cost the organization tens of millions of dollars in damages. Joining us now, New York
Governor, Andrew Cuomo. Governor, thanks so much for being with us. This has to do with a
dispute over Carry Guard, a type of insurance the NRA wanted to help issue that would
indemnify or at least provide resources for people to defend themselves if charged with
discharging their ﬁrearm in self-defense. New York state says they can't do that, the NRA says
it can, correct?

Governor Cuomo: Yes, yes, John. Good morning, John, good morning, Alisyn. Yes, the states
regulate insurance, as you know and the NRA was, in essence, selling an insurance product in
the state of New York called Carry Guard. It was designed for people who carry weapons and
the insurance policy essentially insured them for intentional bad acts, intentional wrongdoing,
which violates the law in the state of New York and many other states. We took action against
the actual insurance company and they paid a ﬁne and they agreed to stop selling the product
in a consent decree. And the NRA was involved basically as their broker getting a commission
and advertising and that violates the law. Their complaint is, well, we lost money. Too bad. You
violated the law and it's not a defense to say well, I was committing illegal activity but I was
making money from it and now I'm upset that I lost the revenue.

John Berman: You know, correctly, that states are the ones who regulate insurance law in this
country. But there are states where this Carry Guard insurance is legal, correct?

Governor Cuomo: A state can regulate its own laws. We're going to be working with the other
states and our superintendent of insurance, I'm going to have in contact with the other states.
It would be highly unusual for a state to allow an insurance company to reimburse for an
illegal activity, they call it "murder insurance." There is no public policy in saying, if you commit
a crime or do an intentional wrong act we will in essence pay you for doing that.

John Berman: What they would say though this includes self-defense, obviously where
depending how you prove that would not be illegal. But that's where a distinction, the dispute
lies. Let me read a statement from the NRA and get your response to it. "Our client is suﬀering
setbacks with respect to the availability of banking services as a result of political and
discriminatory campaign meant to coerce the ﬁnancial institutions from refrain from doing
https://www.governor.ny.gov/news/transcript-governor-cuomo-addresses-nra-lawsuit-and-condemns-organizations-illegal-business-0             2/4
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business with the NRA. The actions are a blatant attack on ﬁrst amendment rights of our
organization." Your response?

Governor Cuomo: Yeah, two diﬀerent points. On the insurance that they are selling, I don't
think there's any question that is illegal and violative of public policy. They are making a
diﬀerent point, which is, I have been a longtime opponent of the NRA, I plead guilty. I believe
the NRA represents an extremist group. I believe they've been counterproductive for gun
owners in this country. I believe their politics seeks them to stop any common sense gun
reform because then, John, they would be out of business. Most gun owners support some
type of reasonable gun control. 90 percent of Americans support background checks. The
NRA has always been against any progress whatsoever. They're oblivious to the facts. They've
caused carnage in this nation. They've done gun owners a disservice because there is a
common sense compromise if the NRA wasn't always threatening politicians who went
anywhere near reasonableness. If you remember President Trump after the Parkland
shooting, spoke in the White House conference room and asked reasonable questions. He
seemed reasonable. "Why can't we raise the purchase age? Why can't we raise the age for
assault weapons?" He met with the NRA and did a total 180 the next day and was absolutely
against any reform, and this nation still has done nothing on guns.

John Berman: Let me just note one of the implications in the NRA is that your eﬀorts the last
weeks on this issue are political. You're engaged in a primary campaign for re-election here.
You have an ad that you put up on YouTube over the weekend on this. So is there politics from
your side here?

Governor Cuomo: Well, this insurance action happened months and months ago, right? Before
any of it. But as far as their basic point that I have been opposed to the NRA politically,
ideologically, morally, they are right. I plead guilty. It started when the worked in the Clinton
Administration, I was Secretary of Housing and Urban Development. We had something called
the Safe Gun Agreement that we signed with some of the largest gun manufacturers in the
United States that would have changed the way guns were distributed, would have ended the
gun show loophole. Gun manufacturers John, were agreeing and signing. The NRA found out
and they rallied all of the extremists and they stopped the gun manufacturers from signing an
agreement. I mean, that's how far they have gone. I passed ﬁve years ago, the best gun

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control law in the nation and they were a ﬁerce political opponent and caused me all sorts of
political damage. We passed the law anyway. It's been the law for ﬁve years. We banned
assault weapons, we have mental health data base, we have everything we're talking about
doing now, and by the way John, legal gun owners in New York still have their guns and
hunters still hunt, and it shows it is possible. And the NRA hates that message because they
are against any reasonable conclusion.

John Berman: Governor Cuomo, we're out of time. We'll get more statements from the NRA
and their response to this eﬀort you are asserting right now. Thanks for being with us this
morning, appreciate it Governor.

Governor Cuomo: Thank you, John. Thank you, Alisyn.


Contact the Governor's Press Oﬃce
 Contact us                      Albany: (518) 474 - 8418
      by phone:
                                  New York City: (212) 681 - 4640


     Contact us
      by email:                   Press.Oﬃce@exec.ny.gov




https://www.governor.ny.gov/news/transcript-governor-cuomo-addresses-nra-lawsuit-and-condemns-organizations-illegal-business-0             4/4
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AUGUST 9, 2018 Albany, NY


Governor Cuomo Exposes NRA's Hypocrisy

NRA's Own Actions Reveal That Its Lawsuit is Frivolous


New York to Highlight Incongruity in Its Defense of NRA Lawsuit
NRA's Claims That it is Going Broke Are Directly Inconsistent with
Reports That NRA Will Spend $1 Million to Conﬁrm Judge
Kavanaugh

Governor Andrew M. Cuomo today announced New York will highlight the National Riﬂe
Association's pledge to spend $1 million to conﬁrm Brett Kavanaugh to the Supreme Court in
papers related to the state's motion to dismiss the NRA's lawsuit. The issue of doublespeak
supports the Governor's defense of the lawsuit against New York that suggests the state's
actions are a threat to "the NRA's corporate existence and its advocacy mission." This latest
action follows reports that the NRA will purchase television ads urging the conﬁrmation of
President Trump's extreme conservative nominee, Brett Kavanaugh, to the U.S. Supreme
Court.

"Once again the NRA's lies and deception have been uncovered," Governor Cuomo said. "It is
the height of hypocrisy to cry poverty on one hand after being caught red handed proﬁting oﬀ
an illegal insurance scheme, all the while spending $1 million to push its radical anti-gun safety
agenda in Washington. New York will continue to ﬁght against the NRA and their meritless law
suit every step of the way."

The NRA's support of Kavanaugh and commitment to spend $1 million promoting his
nomination proves that the organization is not on the verge of bankruptcy or experiencing

https://www.governor.ny.gov/news/governor-cuomo-exposes-nras-hypocrisy                                         1/2
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ﬁnancial hardship that could threaten its operations, is not being honest about their ﬁnancial
situation, and has ﬁled a frivolous lawsuit against the state of New York.

The Motion to Dismiss the NRA's lawsuit, announced by the Governor last week, calls for the
complaint to be dismissed in its entirety and argues that the actions by the Governor and
Department of Financial Services to protect New Yorkers do not implicate the NRA's First
Amendment Rights or deprive the NRA of any other constitutional protections.

In addition, citing Judge Kavanaugh's interpretation of an unlimited Second Amendment,
Governor Cuomo and members of the Congressional Black Caucus and the New York
Congressional Delegation in July called on the U.S. Senate to block the conﬁrmation of
President Trump's Supreme Court nominee.

In April, the Governor directed the Department of Financial Services to urge insurance
companies, state-chartered banks, and other ﬁnancial services companies licensed in New
York to review any relationships they may have with the NRA and other similar organizations.
Following this review, companies were encouraged to consider whether such ties harm their
corporate reputations and jeopardize public safety.


Contact the Governor's Press Oﬃce
 Contact us                    Albany: (518) 474 - 8418
      by phone:
                                New York City: (212) 681 - 4640


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https://www.governor.ny.gov/news/governor-cuomo-exposes-nras-hypocrisy                                         2/2
